           Case 1:16-cv-05248-LAP Document 43 Filed 06/05/17 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
NEW YORK HOTEL & MOTEL TRADES                                      :
COUNCIL, AFL-CIO,                                                  :
                                                                   :
                                    Petitioner,                    :   NOTICE OF CROSS-
                                                                   :   MOTION
-against-                                                          :
                                                                   :   16-cv-5248(LAP)
CF 43 HOTEL, LLC, 250 WEST 43 OWNER, LLC, :
250 WEST 43 OWNER II LLC, 250 WEST                                 :
OWNER III, LLC, d/b/a CARTER HOTEL,                                :
                                                                   :
                                    Respondents.                   :
                                                                   :
-------------------------------------------------------------------X

        Please take notice that Respondents cross-move this Court for an Order dismissing the

Petition and awarding such other and further relief as the Court deems proper and just.

        Attached hereto are true and accurate copies of the following: Exhibit A – Industry Wide

Agreement (excerpted); Exhibit B – Respondents’ Assumption Agreements; Exhibit C –

Affidavit of Jack Graff; Exhibit D – 4/9/15 Request for Information; Exhibit E – Award No. 37-

2015; Exhibit F – Award No. 38-2015; Exhibit G – Award No. 16-2016.

Dated: June 5, 2017
       New York, New York

                                                             Respectfully submitted,
                                                             CLIFTON BUDD & DeMARIA, LLP
                                                             Attorneys for Respondents




                                                             By: ________________________________
                                                                  Arthur J. Robb
                                                                  The Empire State Building
                                                                  350 Fifth Avenue 61st Floor
                                                                  New York, New York 10118
                                                                  (212) 687-7410
